4:09-cr-03079-RGK-CRZ      Doc # 54   Filed: 11/30/09   Page 1 of 1 - Page ID # 113




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                 4:09CR3079
                                       )
            v.                         )
                                       )                   ORDER
ANDREW LAMAR CAMPBELL,                 )
                                       )
                  Defendants.          )


     IT IS ORDERED that the motion for release upon conditions filed by defendant
Andrew Lamar Campbell, (filing no. 53), is denied.


      DATED this 30th day of November, 2009.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      United States District Judge
